Case: 1:18-cv-02705 Document #: 14 Filed: 06/19/18 Page 1 of 2 Page|D #:71

IN THE UNITED STATES DISTRIC'I` COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

BODYGUARD PRODUCTIONS, INC., )
) Casc No.: lS-eV-2705
Plaintiff, )
_) .ludge Elaine E. Bueklo
v. )
)
DOES 1-25, )
)
Dcfcndants. )

PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF CERTAIN DOE DEFENDANTS

P|aintift`, Bodyguard Productions, lnc., pursuant to Rule 4l(a)(l) ofthe Federal Rules of
Civil Procedure, hereby dismisses with prejudice all causes of action in thc complaint against the
Doc Defendants associated with lnternet Protocol addresses 73.75.232.1 l l (Doe No. 1 l);
‘/'3.50.150.243 (Doe No. 12) and 24. 1.236.228 (Doe No. 16). Eaeh party shall bear its own attorney`s
rees and costs. Plaintiffis not dismissing any other Doe defendants at this tinie.

Thc respective Doe Defendanls have not filed an answer to the complaint or a motion l`or
summaryjudgment in this matter. Theref`ore, it is respectfully submitted that dismissal under Rulc
41(21)(1) is appropriate

Respectliilly submitted,
Dated: lurie 19, 2018 BODYGUARD PRODUCTIONS, INC.

By: s/Michael A. I-Iicrl
l\/liehael A. Hierl (Bar No. 3128021)
Hughes Soeol Piers Resniek & Dym, Ltd.
Three First National Plaza
70 W. l\/ladison Slreet, Suitc 4000
Chicago, Illinois 60602
(`312) 580-0100 Telephone
(312) 580-1994 Facsimile

mhierl@hsplega|.com

Attomeys for Plaintiff
Bodyguard Productions, Ine.

Case: 1:18-cv-O2705 Document #: 14 Filed: 06/19/18 Page 2 of 2 Page|D #:72

CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Notiee of Voluntary Dismissal ofCertain Doe Defendants was filed electronically with the Clerk
efthe Court and served on all counsel of record and interested parties via the CM/ECF system on
June 19, 2018.

s/Miehael A. Hierl

 

